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                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND


    CHAMBERS OF                                                     101 WEST LOMBARD STREET
  SUSAN K. GAUVEY                                                   BALTIMORE, MARYLAND 21201
U.S. MAGISTRATE JUDGE                                             MDD_skgchambers@mdd.uscourts.gov




                                        May 2, 2019


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 Erienne Sutherell, Esq.
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 Robert Alan McFarland, Esq.
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 Office of the Attorney General
 Of Maryland
 300 W. Preston Street, Room 608
 Baltimore, MD 21201

          Re:       Hulbert, et al v. Pope, et al
                    Civil Action No. GLR-18-461

 Dear Counsel:

      Please be advised that a settlement conference in the
 above-captioned case has been scheduled for Tuesday, August 27,
 2019, at 10:00 a.m., to be held in chambers 3A, United States
 Courthouse, 101 West Lombard Street, Baltimore, Maryland 21201.
 It is essential that the parties, or in the case of a
 corporation or partnership, an officer or other representative
 with complete authority to enter into a binding settlement, be
 present in person. A person with Acomplete authority@ is someone
 who has the experience and judgment to exercise that authority
 without having to consult with anyone who is not in attendance
 at the settlement conference.1 Please provide the name and title

          1
        This requirement will only be waived upon a showing of
 exceptional circumstances. If counsel believes that such
 circumstances exist, a letter detailing why this Court should excuse
 the representative from personal attendance should be electronically
 filed for my consideration at least two weeks before the scheduled
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of the individuals who will be attending the conference.
Attendance by the attorney for a party is not sufficient.   See
Local Rule 607.3.    Please also be advised that the conference
may take the entire day.

     No later than August 6, 2019, I would like to receive from
each party a short letter candidly setting forth the following:

     1.      Facts you believe you can prove at trial;

     2.      The major weaknesses in each side=s case, both factual
             and legal;

     3.      An evaluation of the maximum and minimum damage awards
             you believe likely;

     4.      The history of any settlement negotiations to date;
             and

     5.      Estimate of attorney=s fees and costs of litigation
             through trial.

     The letters may be submitted ex parte and will be solely
for my use in preparing for the settlement conference.

     The letters should be limited to five (5) pages unless
permission of the Court is received.    As mediating judge, I
certainly want to understand the key points of your case, but
voluminous submissions are not always necessary and helpful in
my preparation for the mediation.

     I also will review select pleadings in the court file.
Additionally, if you want me to review any case authorities that
you believe are critical to your evaluation of the case, please
identify.   If you want me to review any exhibits or deposition
excerpts, please attach a copy to your letter.2

settlement conference or immediately upon learning of the extenuating
circumstance(s), whichever event is sooner.

     2
       Please note that the American Bar Association Standing Committee
on Ethics and Professional Responsibility has issued a Formal Opinion
(No. 93-370) that precludes a lawyer, ABSENT INFORMED CLIENT CONSENT,
from revealing to a judge the limits of the lawyer=s settlement
authority or the lawyer=s advice to the client regarding settlement.
The opinion does not preclude a judge, in seeking to facilitate a
settlement, from inquiring into those matters. Therefore, please
discuss these items with your client before appearing for the
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     Since settlement conferences are often more productive if
the parties have previously exchanged demands and offers and
have made a good faith effort to settle the case on their own, I
require that the plaintiffs submit a written itemization of
damages and a settlement demand to the defendants on August 6,
2019, with a copy to the Court, and the defendants shall submit
a written offer to the plaintiffs and any alternate itemization
of damages on August 13, 2019, again with a copy to the Court.
Thereafter,   the  parties   should   continue   to  engage   in
negotiations.

     Failure to comply without justification may result in the
imposition of sanctions.

     For your information, at the outset of the conference, I
usually ask each party to give a brief (five minute) overview of
the trial: expected witnesses and documentary evidence, any
crucial   evidentiary   issues  and   any   controversial   jury
instructions.

     If counsel believes that a telephone conference prior to
the August 27 in-person conference would be advisable to make
the settlement conference more productive, please contact Bonnie
Jacobs to make arrangements at Bonnie_Jacobs@mdd.uscourts.gov
and/or 410-962-3277.

     The settlement conference process will be confidential and
disclosure of confidential dispute resolution communications is
prohibited. See 28 U.S.C. ' 652(d); Local Rule 607.4.

      Notwithstanding the informal nature of this letter, it is
an Order of the Court and the Clerk is directed to docket it as
such.

     I look forward to seeing you on August 27th.

                                  Sincerely yours,


                                        /s/

                                  Susan K. Gauvey
                                  United States Magistrate Judge



settlement conference.
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cc:   Honorable George Levi Russell, III
      Court and Chambers File
